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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

MDL NO. 1456
Civil Action No. 01-12257-PBS
Subcategory No.: 03-10643

THIS DOCUMENT RELATES TO: Judge Patti B. Saris

The City of New York v. Abbott Labs., et al.
(S.D.N.Y. No. 04-CV-06054)

County of Albany v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00425)

County of Allegany v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06231)

County of Broome v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00456)

County of Cattaraugus v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06242)

County of Cayuga v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00423)

County of Chautauqua v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06204)

County of Chemung v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06744)

County of Chenango v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00354)

County of Columbia v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00867)

County of Cortland v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00881)

County of Dutchess v. Abbott Labs., et al.
(S.D.N.Y. No. 05-CV-06458)

County of Essex County v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00878)

County of Fulton v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00519)

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PROPOSED ORDER OF DISMISSAL OF PLAINTIFFS’ CLAIMS
AGAINST AMGEN INC. AND IMMUNEX CORPORATION

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County of Genesee v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06206)

County of Greene v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00474)

County of Herkimer v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00415)

County of Jefferson v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00715)

County of Lewis v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00839)

County of Madison v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00714)

County of Monroe v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06148)

County of Nassau v. Abbott Labs., et al.
(E.D.N.Y. No. 04-CV-5126)

County of Niagara v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06296)

County of Oneida v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00489)

County of Onondaga v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00088)

County of Ontario y. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06373)

County of Orange v. Abbott Labs., et al.
(S.D.N.Y. No. 07-CV-2777)

County of Orleans v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06371)

County of Putnam v, Abbott Labs., et al.
(S.D.N.Y. No. 05-CV-04740)

County of Rensselaer y. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00422)

County of Rockland v. Abbott Labs., et al.
(S.D.N.Y. No. 03-CV-7055)

County of Saratoga v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00478)

County of Schuyler y. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06387)

County of Seneca v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06370)

County of St. Lawrence v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00479)

County of Steuben v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06223)

County of Suffolk v. Abbott Labs., et al.
(E.D.N.Y. No. CV-03-229)

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County of Tompkins v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00397)

County of Ulster v. Abbott Labs., et al.
(N.D.N.Y. No. 06-CV-0123)

County of Warren v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00468)

County of Washington v. Abbott Labs., et al.
(N.D.N.Y. No. 05-CV-00408)

County of Wayne v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06138)

County of Westchester v. Abbott Labs., et al.
(S.D.N.Y. No. 03-CV-6178)

County of Wyoming v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-6379)

County of Yates v. Abbott Labs., et al.
(W.D.N.Y. No. 05-CV-06172)

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The Motion for Dismissal is hereby GRANTED. All claims in this action against

defendants Amgen Inc. and Immunex Corporation are dismissed with prejudice and without

costs to any party.

SO ORDERED.

DATED: , 2010

Judge Patti B. Saris
